Case 0:17-cv-61046-RNS Document 24 Entered on FLSD Docket 01/16/2018 Page 1 of 1



                                United States District Court
                                          for the
                                Southern District of Florida

  Lillian M. Young, Plaintiff       )
                                    )
  v.                                )
                                    )           Civil Action No. 17-61046-Civ-Scola
  Palm Beach Credit Adjustors, Inc. )
  d/b/a Focus Financial Services, )
  Defendant                         )
                                Order Of Dismissal
        The parties have dismissed this case with prejudice in accordance with
  Federal Rule of Civil Procedure 41(a)(1)(A)(ii). (Joint Stip. of Dismissal With
  Prejudice, ECF No. 23). The Court directs the Clerk to close this case. All
  pending motions, if any, are denied as moot.
        Done and ordered at Miami, Florida, on January 12, 2018.


                                                 ________________________________
                                                 Robert N. Scola, Jr.
                                                 United States District Judge
